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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

 IN RE:                                           §         Case No. 24-31171
                                                  §
 James Douglas Butcher                            §
                                                  §         Chapter 11, Sub Chapter V
            Debtor


                       Debtor’s Second Amended Plan of Reorganization
                                 Under Subpart V Chapter 11
         James Douglas Butcher (“Butcher” or the “Debtor”) proposes this Second Amended Plan

of Reorganization (the “Plan”) pursuant to 11 U.S.C. §§ 1190.


    I.        Background

    A. The Debtor

         Butcher is an individual Texas resident residing at 480 Kirby Rd. Taylor Lk Vlg, TX

77586-5201 (“Homestead”).


    B. Brief History of the Debtor, Assets of the Debtor and Cause for the Debtor’s
       Chapter 11 Filing / Business of the Debtor

         Butcher is an individual who owns a home, vehicles, household goods, financial accounts

at banks and other financial accounts, and other miscellaneous assets. The assets are listed on

Schedules A/B of his filed schedules. Amended Schedules A/B filed at ECF No. 45. The Debtor

is married to Leonida Butcher (“Leonida”).

         In Debtor’s Schedule A/B of the bankruptcy case there are four (4) real properties listed

and the Debtor’s homestead at 480 Kirby Road, Taylor Lake Village, Texas. The four non-

homestead properties are the following: (a) 17250 El Camino Real, Webster, TX 77058, (b) 2234
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Nasa Road 1 Seabrook, TX 77586, and (c) 3222 Burke Rd Pasadena, TX 77504, and (d) 2514

Perez Rd. Pasadena, TX 77502 1 (the non-homestead properties collectively the “Properties”). The

Properties are owned fifty percent (50%) by Jimmy Butcher, the Debtor’s and Leonida’s son, and

fifty percent (50%) by Leonida Butcher dba JC Lion Properties (“JC Lion Properties”). The Debtor

has no management rights in the Properties. The Properties are rental properties solely managed

by debtor’s wife, Leonida.

            For at least 12 to 14 years or more, Debtor has had no access or control of the personal

bank accounts of Leonida. Debtor has had no access or control of any JC Lion Properties bank

accounts. The Properties are under the sole management and control of Leonida, the spouse of

the Debtor. Under section 541(a)(2)(A) of the Bankruptcy Code, the Properties are not property

of his bankruptcy estate.

            The Properties have deed of trust liens with Capital Bank and Stellar Bank.2 Leonida is

the sole signatory for the JC Lion Properties’ bank accounts.

            Creditors Frost Bank (“Frost”) and Michael Allen Franklin (“Franklin”)3 obtained

judgments against the Debtor in approximately 2012 and 2014, respectively (the “Judgments”).

The Judgments resulted from Debtor’s personal guarantees of loans related to business dealings

that failed on or about 2009 and 2010. The Judgments resulted from contractual obligations

incurred by the Debtor, not Leonida or Jimmy Butcher. The Judgments are not against Leonida

or Jimmy Butcher. Frost and Franklin incorrectly claim to have judgment liens against the

Properties based upon recorded abstracts of the Judgments. The abstracts are incorrectly shown



1
  Property subject to contract.
2
  Previously Post Oak Bank, N.A., subsequently Alliance Bank. The lender is currently Stellar Bank.
3
  Judgment originally obtained by Charles David Young, Jr, later held by Margaret McCarty Young.

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as attached to the Properties. The collection actions by Frost and Franklin were the cause for the

bankruptcy filing.          Debtor had been able to settle other judgments related to his personal

guarantees. However, despite his efforts, no settlement has occurred with Frost and Franklin.

         Debtor filed the bankruptcy to reorganize and address the Judgments, clarify the extent of

liability, if any, that the Properties have for the Judgments, and address other debts.


         Butcher values his non-exempt personal property assets at approximately $5,262.61, in

the aggregate, as of the filing date. The plan pays more than the amount of his non-exempt

property to creditors.

         Butcher has debts of approximately $6,349,304.31.

         Business of the Debtor: Debtor conducts martial arts classes and consulting services for

real property management and operations. The Debtor also receives Social Security and VA

disability.


    C. Liquidation Analysis

         To confirm the Plan, the Court must find that all creditors and equity interest holders who

do not accept the Plan will receive at least as much under the Plan as such claim and equity interest

holders would receive in a chapter 7 liquidation. A liquidation analysis is attached to the Plan as

Exhibit A.


    D. Ability to Make Future Plan Payments and Operate Without Further Reorganization

         In order to confirm a plan, the Debtor must show that it will have enough cash over the life

of the plan to make the required plan payments and pay his personal expenses. The Debtor has

provided projected financial information as Exhibit B. The projections are based upon prior history


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and anticipated income.


          While the Debtor is not required to use his social security income for plan payments, the

Debtor will use $550.00 of his social security income every month to complete the amount of cash

that is necessary to make the plan payments.


          The projections demonstrate that the Debtor will have sufficient funds to pay his personal

expenses and make the plan payments during the term of the Plan.


          You should consult with your accountant or other financial advisor if you have any

questions pertaining to these projections.


    II.       Summary of Plan

          This Plan of Reorganization (the “Plan”) under chapter 11 of the Bankruptcy Code (the

“Code”) proposes to pay Debtor’s creditors from the cash flow generated in the ordinary course of

the Debtor’s business after confirmation.


          This Plan provides for: 21 classes of secured claims; and

                                            One class of unsecured claims.

          Creditors holding allowed claims will receive distributions as set forth in this Plan.


          This Plan also provides for the payment of administrative claims.


          All creditors should refer to this Plan for information regarding the precise treatment of

their claims.


          The Debtor may prosecute claims against persons or entities that may owe money to the


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       Debtor. Any recoveries will remain with and be an asset of the reorganized Debtor.


                Your rights may be affected. You should read these papers carefully and discuss them

       with your attorney, if you have one. (If you do not have an attorney, you may wish to consult

       one.)


III.       Classification of Claims and Interests


        Class 1        Class 1 consists of the allowed claim of Galveston County for $1,163.64. The claim
                       is secured by business personal property. [Claim 2]. Debtor will pay.


        Class 2        Class 2 consists of the secured claim of Harris County, et. al. for $1,520.99.   The
                       claim is secured by business personal property [Claim 3]. Debtor will pay.

                       Class 3 consists of the secured claim of Harris County, et. al. for $20,287.68. The
        Class 3        claim is for 2024 estimated taxes. The claim is secured by the following properties:

                            (a) Homestead
                            (b) 17250 El Camino Real, Webster, TX 77058
                            (c) 2234 Nasa Road 1 Seabrook, TX 77586
                            (d) 0 7th ST. TR 35E 77586
                            (e) 3222 Burke Rd Pasadena, TX 77504
                            (f) 0 Burke 77504 BLDG U
                            (g) 2514 Perez Rd 77502

                       [Claim 4].

                       The property taxes for the Homestead are escrowed. Debtor and Leonida will
                       continue to pay the property taxes, as are escrowed into the monthly installments.

                       Leonida will pay the property taxes for:
                          (a) 17250 El Camino Real, Webster, TX 77058
                          (b) 2234 Nasa Road 1 Seabrook, TX 77586
                          (c) 0 7th ST. TR 35E 77586
                          (d) 3222 Burke Rd Pasadena, TX 77504
                          (e) 0 Burke 77504 BLDG U
                          (f) 2514 Perez Rd 77502



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Class 4        Class 4 consists of the secured claim of Capital Bank for $689,503.70. The claim is
               secured by real estate located at 3222 Burke Rd Pasadena, TX 77504 [Claim 9].
               Amount to be paid by Leonida and not the Debtor.


Class 5        Class 5 consists of the secured claim of Capital Bank for $174,025.82. The claim is
               secured by real estate located at 3222 Burke Rd Pasadena, TX 77504 [Claim 10].
               Amount to be paid by Leonida and not the Debtor.


Class 6        Class 6 consists of the secured claim of Capital Bank for $149,660.20. The claim
               is secured by real estate located at 2234 Nasa Road 1 Seabrook, TX 77586 [Claim
               11]. Amount to be paid by Leonida and not the Debtor.


Class 7        Class 7 consists of the secured claim of Capital Bank for $289,597.44. The claim
               is secured by real estate located at 3222 Burke Rd Pasadena, TX 77504 [Claim 12].
               Amount to be paid by Leonida and not the Debtor.


Class 8        Class 8 consists of the secured claim of Ford Motor Credit Company, LLC for
               $22,174.89. The claim is secured by vehicle 2022 Ford Maverick Crew Cab XLT
               2.0L I4 Turbo VIN:3FTTW8E92NRA99882 [Claim 13]. The Debtor will continue
               to pay.


Class 9        Class 9 consists of the secured claim of JP Morgan Chase Bank, National Association
               for $321,944.92. The claim is secured by Debtor’s Homestead [Claim 15]. Amount
               to be paid one-half by Leonida and one-half by the Debtor.


Class 10       Class 10 consists of the secured claim of Stellar Bank for $659,373.37. The claim is
               secured by real estate located at 17250 El Camino Real Webster, TX 77058 [Claim
               16]. Amount to be paid by Leonida and not the Debtor.

               Class 11 consists of the secured claim of Clear Creek Independent School District
Class 11       for $28,404.97. The claim is for 2024 estimated taxes. Past due pre-petition
               amounts: $8.32 for Homestead. The claim is secured by the following properties:

                    (a) Homestead
                    (b) 0 7th Street, Seabrook, TX 77586
                    (c) 2234 Nasa Road 1, Seabrook, TX 77586
                    (d) 17250 El Camino Real, Webster, TX 77058
                        [Claim 21]

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               The property taxes for the Homestead are escrowed. Debtor and Leonida will
               continue to pay the property taxes, as are escrowed into the monthly installments.

               Leonida will pay the property taxes for:

                         (a) 0 7th Street, Seabrook, TX 77586
                         (b) 2234 Nasa Road 1, Seabrook, TX 77586
                         (c) 17250 El Camino Real, Webster, TX 77058

               Class 12 consists of the secured claim of Clear Lake City Water Authority for
Class 12       $6,601.92. The claim is for 2024 estimated taxes. The claim is secured by the
               following properties:

                    (a) Homestead
                    (b) 17250 El Camino Real, Webster, TX 77058

               The property taxes for the Homestead are escrowed. Debtor and Leonida will
               continue to pay the property taxes as an escrow of the monthly installments.

               Leonida will pay the property taxes for:

                     (a) 17250 El Camino Real, Webster, TX 77058

                    [Claim 23]


Class 13       Class 13 consists of the secured claim of Mercedes-Benz Financial Services for
               $55,000. The claim is secured by vehicle 2019 Mercedes-Benz 550 S. No claim
               was filed. Amount of claim is listed by Debtor. Vehicle is in Leonida’s name and
               she makes the monthly contractual payments.


Class 14       Class 14 consists of the secured claim of Mercedes-Benz Financial Services for
               $55,000. The claim is secured by vehicle 2021 Mercedes-Benz 350 E. No claim
               was filed. Amount of claim is listed by Debtor. Vehicle is in Leonida’s name and
               she makes the monthly contractual payments.

               Class 15 consists of the secured claim of Pasadena Independent School District for
Class 15       $24,412.19. The claim is for 2024 estimated taxes in the amount of $22,204.59 and
               for business personal property taxes in the amount of 2,207.60. The claim is secured
               by Business Personal Property and the following properties:

                    (a) 0 Burke, Pasadena, TX 77504

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                        (b) 3222 Burke Rd., Pasadena, TX 77504
                        (c) 2514 Perez Rd., Pasadena, TX 77502

                   Debtor will pay the claim for business personal property taxes.

                   Leonida will pay the property taxes for:

                       (a) 0 Burke, Pasadena, TX 77504
                           (b) 3222 Burke Rd., Pasadena, TX 77504
                           (c) 2514 Perez Rd., Pasadena, TX 77502
                     [Claim 22]


    Class 16       Class 16 consists of the secured claim of the City of Houston for $704.15. The claim
                   is secured by business personal property. [Claim 24]. Debtor will pay.


    Class 17       Class 17 consists of the secured claim of Michael Allen Franklin for $315,948.77.
                   The secured amount of the claim is listed as “TO BE DETERMINED”. Debtor will
                   pay as an unsecured claim. The Properties that are claimed to be partially subject to
                   the judgment lien are under the sole management and control of Leonida. The alleged
                   lien did not and does not attach to the Properties. Leonida’s fifty percent (50%)
                   ownership interest in the Properties is her solely managed community property.
                   Therefore, these Properties do not constitute property of the Debtor’s bankruptcy
                   estate. [Claim 19].4 Class 17 will be paid as an unsecured claim. Upon confirmation
                   of this Plan and after the Effective Date, Michael Allen Franklin is to release his
                   claim on the Properties. In the alternative, the Debtor may request an order from this
                   court that releases the claim of Michael Allen Franklin on the Properties.


    Class 18       Class 18 consists of the secured claim of Frost Bank for $2,652,479.79. The secured
                   amount of the claim is listed as “Unknown”. Debtor will pay as an unsecured claim.
                   The Properties that are claimed to be partially subject to the judgment lien are under
                   the sole management and control of Leonida. Hence, the alleged lien did not attach
                   to the Properties. Leonida’s fifty percent (50%) ownership interest in the Properties
                   is her solely managed community property. Therefore, these Properties do not
                   constitute property of the Debtor’s bankruptcy estate. [Claim 20]. Class 20 will be
                   paid as an unsecured claim. Upon confirmation of this Plan and after the Effective
                   Date, Frost Bank is to release its claim on the Properties. In the alternative, the
                   Debtor may request an order from this court that releases the claim of Frost Bank on


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 On August 14, 2024 Michael Allen Franklin filed Claim No. 25 that appears to be a duplicated of claim 19,
amended on that same date (Claim 19-2). Claim 25 shall be treated in Class 17 as an unsecured claim as claim 19.


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                      the Properties.

                      Class 19 consists of the secured claim of the City of Seabrook for $1,803.59. The
       Class 19       claim is for 2024 estimated ad valorem taxes. The claim is secured by the following
                      properties:

                                     (a) 0 7th Street, Seabrook, TX 77586
                                     (b) 2234 Nasa Road 1, Seabrook, TX 77586

                      Amount to be paid by Leonida and not the Debtor. [Claim 26]
                      Class 20 consists of the secured claim of the City of Pasadena for $6,906.35. The
       Class 20       claim is for 2024 estimated ad valorem taxes. The claim is secured by the following
                      properties:
                              (a) 0 Burke, Pasadena, TX 77504
                              (b) 3222 Burke Rd., Pasadena, TX 77504
                              (c) 2514 Perez Rd., Pasadena, TX 77502
                      Amount to be paid by Leonida and not the Debtor. [Claim 27]

                      Class 21 consists of the secured claim of the City of Webster for $4,675.16. The
       Class 21       claim is for 2024 estimated ad valorem taxes. The claim is secured by the following
                      property:

                           (a) 17250 El Camino Real, Webster, TX 77058

                      Amount to be paid by Leonida and not the Debtor. [Claim 28]


       Class 22       Class 22 consists of all non-priority unsecured claims allowed under § 502 of the
                      Code. The aggregate amount of Class 22 claims is approximately $3,856,831.01.


      “Taxing Authorities” or “Taxing Authorities” shall mean any governmental taxing entity.

IV.       Treatment of Administrative Expense Claims, Priority Tax Claims, and Court Fees

               Under § 1123(a)(1), administrative expense claims and priority tax claims are not in

      classes.


          A. Administrative Expense Claims

               Each holder of an administrative expense claim allowed under § 503 of the Code will be



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paid in full in cash on the later of the Effective Date (as hereinafter defined), on the date such claim

becomes an allowed claim, or upon such other terms as may be agreed upon by the holder of the

claim and the Debtor.

         Butcher will pay post-confirmation fees and expenses incurred by Baker & Associates in

the ordinary course of business without the need for Court approval of such fees and expenses.


         Payment to the Subpart V Trustee – Jarrod B. Martin has been appointed as the Subpart V

Trustee in this case (“Subpart V Trustee”). Debtor shall pay allowed Subpart V Trustee fees and

expenses as set forth in the projections and budget. If the Subpart V Trustee does not timely receive

tender of the payments set forth above, the Subpart V Trustee shall send written notice by Regular

Mail, by Email, and by Certified Return Receipt Requested Mail, postage prepaid, to the Debtor

and Counsel for the Debtor, and allow Debtor a 30-day period from the date of such written notice

to cure such delinquent payments. In the event Debtor fails to cure such delinquent payments

within such 30-day period, the Subpart V Trustee shall be allowed to take any and all steps

necessary to exercise any and all rights available remedies under applicable law. Upon entry of a

final order of discharge for the Debtor, this notice requirement shall terminate and the parties shall

thereafter be governed by the notice provisions set forth under the laws of the State of Texas.

         The subpart V Trustee fees will be paid on the Effective Date, subject to the approval of

the fees and expenses by the bankruptcy court.


    B. Priority Tax Claims

         No priority tax claims have been filed. The Amended Claim No. 5 filed by the Internal

Revenue Service is $0.00.



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         C. Statutory Fees


              All fees required to be paid under 28 U.S.C. § 1930 that are owed on or before the Effective

     Date have been paid or will be paid on the Effective Date.


V.       Treatment of Claims and Interests Under the Plan

              Claims and interests will be treated as follows under this Plan: Filing date of March 18,

     2024.

      Class                            Impairment      Treatment

      Class 1 – Galveston              Impaired        Debtor will pay $1,163.64 to Class 1 by no later than
      County-business                                  March 18, 2027. The claim will be paid in approximately
      personal property                                equal monthly installments at 12% per annum interest
      taxes                                            [Claim 2].


      Class 2 – Harris                 Impaired        Debtor will pay $1,520.99 to Class 2 by no later than
      County- business                                 March 18, 2027. The claim will be paid in approximately
      personal property                                equal monthly installments at 12% per annum interest.
      taxes                                            [Claim 3].


      Class 3- Harris                  Unimpaired The claim for $20,287.68 will be paid to Class 3 as
      County, et. al. 2024                        follows:
      estimated taxes
      secured by the                                   The property taxes for the Homestead are escrowed.
      following properties:                            Debtor and Leonida will continue to pay the property
      Homestead; 17250 El                              taxes, as are escrowed into the monthly installments.
      Camino Real; 2234
      Nasa Road 1; 0 7th                               Leonida will pay the property taxes for:
      ST. TR 35E 77586;
      3222 Burke Rd
      Pasadena, TX 77504;
      0 Burke 77504
      BLDG U; 2514 Perez
      Rd 77502.




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                                                        (a) 17250 El Camino Real, Webster, TX 77058
                                                        (b) 2234 Nasa Road 1 Seabrook, TX 77586
                                                        (c) 0 7th ST. TR 35E 77586
                                                        (d) 3222 Burke Rd Pasadena, TX 77504
                                                        (e) 0 Burke 77504 BLDG U
                                                        (f) 2514 Perez Rd 77502

                                                 [Claim 4].


Class 4- Capital Bank Unimpaired Leonida will continue to pay $689,503.70 to Class 4 by
-secured by 3222                 paying the contractual monthly installments [Claim 9].
Burke Rd Pasadena,               Amounts to be paid by Leonida and not the Debtor.
TX 77504


Class 5- Capital Bank Unimpaired Leonida will continue to pay $174,025.82 to Class 5 by
-secured by 3222                 paying the contractual monthly installments [Claim 10].
Burke Rd Pasadena,               Amounts to be paid by Leonida and not be Debtor.
TX 77504




Class 6- Capital Bank Unimpaired Leonida will continue to pay $149,660.20 to Class 6 by
-secured by 2234                 paying the contractual monthly installments [Claim 11].
Nasa Road 1                      Amounts to be paid by Leonida and not be Debtor.
Seabrook, TX 77586


Class 7- Capital Bank Unimpaired Leonida will continue to pay $289,597.44 to Class 7 by
-secured 3222 Burke              paying the contractual monthly installments [Claim 12].
Rd Pasadena, TX                  Amounts to be paid by Leonida and not the Debtor.
77504


Class 8-Ford Motor               Unimpaired Debtor will continue to pay $22,174.89 to Class 8 by
Credit for 2022 Ford                        paying the contractual monthly installments [Claim 13].
Maverick


Class 9-JP Morgan                Unimpaired Debtor and Leonida will continue to pay $321,944.92 to
Chase - Homestead                           Class 9 by paying the contractual monthly installments
                                            as they have been doing since the case was filed [Claim


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                                                 15]. There is no pre-petition arrearage.


Class 10- Stellar                Unimpaired Leonida will continue to pay $659,373.37 to Class 10 by
Bank secured by                             paying the contractual monthly installments [Claim 16].
17250 El Camino
Real


Class 11- Clear Creek Unimpaired The claim for $28,404.97 will be paid to Class 11 as
Independent School               follows:
District 2024
estimated taxes. Past            The property taxes for the Homestead are escrowed.
due pre-petition                 Debtor and Leonida will continue to pay the property
amounts: $8.32 for               taxes, as are escrowed into the monthly installments.
Homestead. Secured
by the following                 Leonida will pay the property taxes for:
properties:
Homestead; 0 7th                             (a) 0 7th Street, Seabrook, TX 77586
Street, Seabrook, TX                         (b) 2234 Nasa Road 1, Seabrook, TX 77586
77586; 2234 Nasa                             (c) 17250 El Camino Real, Webster, TX
Road 1; 17250 El                                 77058
Camino Real.                     [Claim 21]


Class 12- Clear Lake                        The claim of $6,601.92 will be paid to Class 12 as
City Water Authority             Unimpaired follows:
2024 estimated taxes.
secured by:                                      The property taxes for the Homestead are escrowed.
Homestead and                                    Debtor and Leonida will continue to pay the property
17250 El Camino                                  taxes, as are escrowed into the monthly installments.
Real
                                                 Leonida will pay the property taxes for:

                                                          (a) 17250 El Camino Real, Webster, TX
                                                              77058
                                                 [Claim 23]


Class 13- Mercedes-              Unimpaired Leonida will continue to pay $55,000 to Class 13 by
Benz Financial                              paying the contractual monthly installments.
Services for 2019
Mercedes-Benz 550
S



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Class 14- Mercedes-              Unimpaired Leonida will continue to pay $55,000 to Class 14 by
Benz Financial                              paying the contractual monthly installments.
Services for 2021
Mercedes-Benz 350
E


Class 15- Pasadena               Impaired        The claim of $24,412.19 will be paid to Class 15 as
Independent School                               follows:
District for 2024
estimated taxes                                  The Debtor will pay the amount of $2,207.60 for business
secured by Business                              personal property taxes by no later than March 18, 2027.
Personal Property                                The claim will be paid in approximately equal monthly
and the following                                installments at 12% per annum interest.
properties: 0 Burke;
3222 Burke Rd., and                              Leonida will pay the property taxes for:
2514 Perez Rd.
                                                    (a) 0 Burke, Pasadena, TX 77504
                                                    (b) 3222 Burke Rd., Pasadena, TX 77504
                                                    (c) 2514 Perez Rd., Pasadena, TX 77502

                                                  [Claim 22]


Class 16- City of                Impaired        Debtor will pay $704.15 to Class 16 by no later than
Houston secured by                               March 18, 2027. The claim will be paid in approximately
business personal                                equal monthly installments at 12% per annum interest.
property                                         [Claim 24].


Class 17 -Michael                Impaired        Class 17 will be deemed an unsecured class and will be
Allen Franklin                                   paid in Class 22. Upon confirmation of this Plan and
                                                 after the Effective Date, Michael Allen Franklin is to
                                                 release his claim on the Properties. In the alternative, the
                                                 Debtor may request an order from this court that releases
                                                 the claim of Michael Allen Franklin on the Properties.


Class 18-Frost Bank              Impaired        Class 18 will be deemed an unsecured class and will be
                                                 paid in Class 22. Upon confirmation of this Plan and
                                                 after the Effective Date, Frost Bank is to release its claim
                                                 on the Properties. In the alternative, the Debtor may
                                                 request an order from this court that releases the claim of


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                                                 Frost Bank on the Properties.


Class 19-City of Unimpaired Leonida will pay the ad valorem taxes of $1,803.59 to
Seabrook for 2024           Class 19 [Claim 26]
estimated ad valorem
taxes secured by the
following properties:
0     7th     Street,
Seabrook, TX 77586
and 2234 Nasa Road
1, Seabrook, TX
77586



Class 20 -City of Unimpaired Leonida will pay the ad valorem taxes of $6,906.35 to
Pasadena for 2024            Class 20 [Claim 27]
estimated ad valorem
taxes secured by the
following properties:
0 Burke, Pasadena,
TX 77504, 3222
Burke Rd., Pasadena,
TX 77504, 2514
Perez Rd., Pasadena,
TX 77502


Class 21-City of Unimpaired Leonida will pay the ad valorem taxes of $4,675.16 to
Webster for 2024             Class 21 [Claim 28].
estimated ad valorem
taxes secured by the
following property:
17250 El Camino
Real, Webster, TX
77058
                             Butcher will pay the projected disposable income for
Class 22- Unsecured Impaired thirty-six (36) months following the Effective Date to
Creditors                    creditors in this class with allowed claims in the amount
                             set forth on the projections with this plan. The payments
                             to unsecured creditors will be escrowed by the Subpart V
                             Trustee or the Debtor and paid on at least a calendar
                             quarterly basis.

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Funds for Payment of Administrative Expense Claims and Unsecured Claims.

         The Debtor will pay the administrative expenses and the other classes as set forth on the

projections. The Debtor may prepay administrative expenses if the Debtor has sufficient funds to

make such payments.

Provisions Applicable to Classes 2 Harris County and 3-Harris County, et. al.


         Any prepetition and post-petition ad valorem tax liens secured by the Property shall be

retained until such taxes are paid in full. The Taxing Authorities reserve the right to amend their

claims for actual 2024 tax liability amounts pursuant to the Texas Tax Code and are not capped by

the amounts set forth in the Plan. No administrative expense claim or a request for payment shall

be required for payment of 2024 or subsequent years’ taxes.

             The Reorganized Debtor and/or Leonida shall pay all post-petition ad valorem taxes in

the ordinary course of business and shall be subject to the Texas Tax Code, including accrual of

penalties and interest for delinquent post-petition taxes. In the event of a delinquency for post-

petition tax years, the Taxing Authorities are authorized to immediately commence any collection

actions authorized under applicable non-bankruptcy law, and in state court, without further notice

or order from the Bankruptcy Court.


Provisions applicable to Creditors in Classes 1 (Galveston County), 2 (Harris County), 3
(Harris County, et. al), 4 (Capital Bank), 5 (Capital Bank), 6 (Capital Bank), 7 (Capital
Bank), 8 (Ford Motor Credit), 9 (JP Morgan Chase), 10 (Stellar Bank), 11 (Clear Creek
Independent School District), 12 (Clear Lake City Water Authority), 13 (Mercedes-Benz
Financial Services), 14 (Mercedes-Benz Financial Services), 15 (Pasadena Independent
School District), and 16 (City of Houston)

         Creditors in Classes 1 (Galveston County), 2 (Harris County), 3 (Harris County, et. al), 4


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(Capital Bank), 5 (Capital Bank), 6 (Capital Bank), 7 (Capital Bank), 8 (Ford Motor Credit), 9 (JP

Morgan Chase), 10 (Stellar Bank), 11 (Clear Creek Independent School District), 12 (Clear Lake

City Water Authority), 13 (Mercedes-Benz Financial Services), 14 (Mercedes-Benz Financial

Services), 15 (Pasadena Independent School District), and 16 (City of Houston) shall retain their

liens and encumbrances as existed immediately prior to the filing date on the collateral for each of

the Classes pursuant to the terms of the existing and executed loan documents, notes, deeds of trust

and other security documents. All rights and remedies as set forth in the existing and executed

loan documents, notes, deeds of trust, and other security documents for each of such classes shall

continue in full force and effect. For each of such classes, payments shall continue as set forth on

the dates in the applicable loan documents. Creditors in such classes shall also have the rights and

remedies as set forth in state law, which rights and remedies shall continue in full force and effect.

Provisions Applicable to All Classes-Default

         If the reorganized Debtor fails to timely make the required plan payments to any of the

creditors, the reorganized Debtor will be considered to have defaulted under the Plan as to such

creditor. If the reorganized Debtor defaults under the Plan as to a creditor, then such creditor may

send a written notice of the default (a “Default Notice”) to the reorganized Debtor and counsel for

the Debtor by Regular Mail, by Email, and by Certified Mail Return Receipt requested, postage

prepaid. (email for the Debtor: dbutcher.afma@gmail.com; email for counsel for the Debtor:

courtdocs@bakerassociates.net). If the reorganized Debtor does not cure the default within 30

days after receiving the written Default Notice, such creditor with a default may proceed to collect

all amounts owed pursuant to state law without further recourse to the Bankruptcy Court.

Bar Date and Payments


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         The Debtor will only pay creditors that are listed in the schedules of the Debtor as

undisputed, non-contingent, and liquidated. If a creditor is listed as disputed, contingent, or

unliquidated, then the creditor must file a claim by the bar date. If no claim is filed by the

bar date, then no payment will be made to such creditor, but the discharge provided in this

Plan and the bankruptcy code will discharge the debt of such creditor. Creditors whose

claims are listed as disputed, contingent, or unliquidated will receive no distribution unless

such creditor files a claim and the claim is allowed. Even if a creditor files a claim, the Debtor

may still dispute the claim.

Provisions for Subpart V Chapter 11 Trustee and Confirmation under section 1191(b)

         The Debtor requests consent to act as the disbursing agent if the plan is confirmed under

section 1191(b).

         Quarterly Financial Reporting. If the plan is confirmed under section 1191(b), then until

the Debtor has completed all payments under this Plan, the reorganized Debtor shall file with the

Court and provide to the Subpart V Trustee no later than 21 days after the end of each quarter,

post-confirmation quarterly financial reports (the “Quarterly Reports”) for each quarter (or portion

thereof) of the Plan term. The Quarterly Reports shall: (i) be generated by the Debtor’s

management or an accounting or finance professional retained by the Debtor; and (ii) contain the

information required by the U.S. Trustee’s forms and office.


         Tax Returns. If the plan is confirmed under section 1191(b), then until the Debtor has

completed all payments under this Plan, Debtor shall timely file all tax returns and make all tax

payments and deposits, if any, when due. For each tax return that becomes due after entry of the

order confirming the Plan but before the Plan is substantially consummated, Debtor shall, within

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fourteen (14) days of filing the return, provide the Subpart V Trustee with a complete copy of the

tax return, including all schedules and attachments.


         Reorganized Debtor’s Remittance. If the plan is confirmed under section 1191(b) and if

the Debtor is not the disbursing agent, then the Debtor shall remit to the Subpart V Trustee the

funds for the payments of the allowed claims in this plan. Payments of administrative claims under

this Plan shall be made in a manner that is mutually agreeable by and between the Debtor,

administrative claimants, and the Subpart V Trustee. The Reorganized Debtor shall promptly

contact the Subpart V Trustee regarding the disposition of any checks by Reorganized Debtor

made payable to the Subpart V Trustee but not negotiated. The Debtor shall calculate the amounts

to be paid to creditors in this plan and shall provide such calculations to the Subpart V Trustee at

approximately the same time as the funds are delivered to the Subpart V Trustee.


         Distributions to Creditors. If the plan is confirmed under section 1191(b), then

distributions to allowed claims will be made in accordance with the payment calculations provided

by the Debtor. The Subpart V Trustee is not responsible for calculating or correcting the payment

amounts due under the Plan.


         Disbursing Agent. The Debtor shall serve as the disbursing agent if the plan is confirmed

under 1191(a).


         In the event the plan is confirmed under 1191(b), the Debtor requests a waiver of the

requirement that the Subpart V Trustee serve as the disbursing agent.             The Debtor has

approximately 30 creditors in total and can manage and pay the creditors as necessary. In the event


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the waiver is not granted, the Subpart V Trustee shall serve as disbursing agent for the creditors

and shall be discharged upon completion of the final disbursement to all the creditors. Funds from

any disbursement check where the check remains unnegotiated for more than 60 days, may be

redistributed pro rata to other unsecured creditors, as provided for under the Plan, or may be placed

with this Court’s unclaimed funds register pursuant to 28 U.S.C. § 2042, at the discretion of the

Debtor (or the Subpart V Trustee if the Debtor is not the disbursing agent). The Reorganized

Debtor will have the right to pursue the recovery of any disbursements made on account of a claim

which is subsequently withdrawn and/or satisfied.


         If the plan is confirmed under section 1191(b) and the Debtor is not authorized to be the

disbursing agent, the following shall also apply:


         a. The Subpart V Trustee shall be the disbursing agent for all distributions made under the

         plan. The Debtor shall be required to pay a post-confirmation retainer to the Subpart V

         Trustee of $750 monthly. As disbursing agent, the Trustee may pay his post-confirmation

         fees without further order of the Court on 14-days negative notice. The Subpart V Trustee

         may file a Notice Regarding Payment of Fees, which shall include fees and expenses

         incurred by the trustee on a quarterly basis. If no party objects to the notice, after 14 days,

         the Subpart V Trustee may pay the fees and expenses. If a party in interest does object, the

         Court will set a hearing to determine whether the fees and expenses incurred by the Subpart

         V Trustee are reasonable and necessary;


         b. Payments by the Debtor to the Subpart V Trustee are due by the 15th of the month, with

         the first plan payment due on the 15th of the month following confirmation. The Subpart

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         V Trustee will begin making distributions under the plan within 60 days of plan

         confirmation;


         c. The payments to unsecured creditors will be escrowed by the Subpart V Trustee or the

         Debtor and paid on at least a calendar quarterly basis;


         d. The Debtor shall provide the Subpart V Trustee access to information and access

         otherwise to fulfill all duties pursuant to § 1183;


         e. Default remedies under the Plan include liquidation and/or removal of the Debtor, and

         the Court should retain jurisdiction to enforce and interpret the Plan; and


         f. Any modification of plan payments must be filed and noticed by the Debtor or by Subpart

         V Trustee.


         If the plan is confirmed under 1191(a) or is confirmed under 1191(b) and Debtor is allowed

to serve as the disbursing agent, the payments to unsecured creditors will be escrowed by the

Debtor and paid on at least a calendar quarterly basis. The first plan payment will be due on the

15th of the month following confirmation.


         The Debtor will be deemed to have met its payment obligations upon payment of the

classes of claims as set forth herein.


         The Subpart V Trustee shall be discharged upon Substantial Consummation of the Plan

unless the Subpart V Trustee serves as Class V disbursing agent. If the latter occurs, the Subpart



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V Trustee shall be discharged upon completion of the final disbursements to the creditors in this

plan.


         Disbursement Reports. If the plan is confirmed under section 1191(b), then the Debtor

(or the Subpart V Trustee if the Debtor is not the disbursing agent) shall provide all required reports

to the United States Trustee for review, during the period in which the Debtor (or the Subpart V

Trustee if the Debtor is not the disbursing agent) continues to make plan payments. Upon

completion of all plan payments, the Debtor (or the Subpart V Trustee if the Debtor is not the

disbursing agent) will submit the final report and final account of the administration of the estate

to the United States Trustee for review pursuant to section 1183(b)(1). After review, the final report

and account will be filed with the Court.


         If the plan is confirmed under section 1191(a), no further reports must be filed by the

Debtor.


         Notices. The Debtor (or the Subpart V Trustee if the Debtor is not the disbursing agent)

may limit notice of any and all reports, document, pleading or other filing related to this case to

those parties directly affected and to those interested parties which have filed a notice of

appearance or proofs of claim, as necessary. The Debtor (or the Subpart V Trustee if the Debtor is

not the disbursing agent) shall be under no obligation to serve parties which are neither affected

by any report, document, pleading or other filing or have made no appearance whatsoever before

this Court




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         Payments and Distributions on Disputed Claims. Except as otherwise provided in the

Plan, no partial Plan Payments and no partial Distributions will be made with respect to a Disputed

Claim until the resolution of such dispute by settlement or Final Order. For purposes of clarity,

each class’s claimants will not be entitled to a distribution until all claims within the applicable

class are final. Unless otherwise agreed to by the reorganized Debtor or as otherwise specifically

provided in the Plan, a Creditor who holds both an Allowed Claim and a Disputed Claim will not

receive a distribution until such dispute is resolved by settlement or Final Order. The provisions

of this section are not intended to restrict payment of any unclassified claims which are not

disputed.


         Subpart V Trustee Obligations.


(a) Obligations Related to the Pursuit of Causes of Action. The Subpart V Trustee shall not

have any right or obligation to pursue and/or manage the reorganized Debtor’s pursuit of Causes

of Action. Rather, the pursuit and management of Causes of Action shall be coordinated by the

reorganized Debtor and the attorney retained by the reorganized Debtor to pursue Causes of

Action, if any.


(b) Administration of the Estate. If the plan is confirmed under section 1191(b) and the Debtor

is not the disbursing agent, then the Subpart V Trustee shall file all reports required by the United

States Trustee in the manner prescribed by the United States Trustee Program. Upon discharge of

the Subpart V Trustee, the Subpart V Trustee shall file his final report and seek a discharge of his

duties as Subpart V Trustee.



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               Retention of Jurisdiction. The Court retains jurisdiction for any and all matters that may

      come before the Court in the administration of the Plan and pursuant to the Order of Confirmation,

      specifically including, but not limited to, the jurisdiction to determine all objections that have

      heretofore been or may be filed to claims of creditors; to fix and award all compensation to parties

      who may be so entitled; to hear and determine all questions concerning the assets or property of

      the debtors, including any questions relating to any sums of money, services, or property due to

      the debtor; and determine all matters of any nature or type necessary or appropriate to carry out

      the Plan.


VI.       Allowance and Disallowance of Claims

          A. Disputed Claims

               A disputed claim is a claim that has not been allowed or disallowed by a final non-

      appealable order and, as to which, either: (i) a proof of claim has been filed or deemed filed, and

      the Debtor or another party in interest has filed an objection; or (ii) no proof of claim has been

      filed, and the Debtor has scheduled such claim as disputed, contingent, or unliquidated.


               As of the submission of this plan, twenty-four (24) claims have been filed. The Debtor

      reserves the right to dispute any claims filed by any creditors for up to forty-five (45) days after

      the Effective Date.


               Distribution on a Disputed Claim


               No distribution will be made on a disputed claim unless such claim is allowed by a final

      non-appealable order. The Debtor will only pay on allowed claims.



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          B. Settlement of Disputed Claims

               The Debtor will have the power and authority to settle and compromise a disputed claim

   with Court approval and compliance with Rule 9019 of the Federal Rules of Bankruptcy

   Procedure.


VII.      Provisions for Executory Contracts and Unexpired Leases

               The Debtor assumes the following executory contracts and unexpired leases as of the

   Effective Date:


               There are no executory contracts or unexpired leases to be assumed by the Debtor.


               Except for executory contracts and unexpired leases that have been assumed under this

   Plan or by order of the court before the Effective Date or under the preceding paragraph, or that

   are the subject of a pending motion to assume, and if applicable assign, the Debtor will be

   conclusively deemed to have rejected all executory contracts and unexpired leases as of the

   Effective Date.


               A proof of claim arising from the rejection of an executory contract or unexpired lease

   under this section must be filed no later than 30 days after the date of the order confirming this

   Plan.


VIII. Means for Implementation of the Plan

               The Debtor will retain the property of the bankruptcy estate. The Debtor will make the

   payments as set forth in the Projections to either the creditors or to the Subpart V Trustee.


               Jimmy Butcher shall retain his fifty percent (50%) ownership interest in the Properties.

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               Upon confirmation of this Plan and after the Effective Date, Michael Allen Franklin (Class

      17) and Frost Bank (Class 18) are to release their liens, encumbrances and claims on the Properties.

      In the alternative, the Debtor may request an order from this court that releases the liens,

      encumbrances and claims of Michael Allen Franklin and Frost on the Properties.


IX.       General Provisions

          A. Definitions and Rules of Construction

               The definitions and rules of construction set forth in §§ 101 and 102 of the Code shall apply

      when terms defined or construed in the Code are used in this Plan.


          B. Effective Date

               The effective date (“Effective Date”) of this Plan is the date on which the confirmation

      order becomes a final order no longer subject to appeal. If, however, a stay of the confirmation

      order is in effect on that date, the Effective Date will be the first business day after the date on

      which the stay expires or is otherwise terminated.


          C. Severability

               If any provision in this Plan is determined to be unenforceable, the determination will in

      no way limit or affect the enforceability and operative effect of any other provision of this Plan.


          D. Binding Effect

               The rights and obligations of any entity named or referred to in this Plan will be binding

      upon and will inure to the benefit of the successors or assigns of such entity.




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         E. Captions

              The headings contained in this Plan are for convenience of reference only and do not affect

     the meaning or interpretation of this Plan.


         F. Controlling Effect

              Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy

     Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of Texas govern this

     Plan and any agreements, documents, and instruments executed in connection with this Plan,

     except as otherwise provided in this Plan.


         G. Retention of Jurisdiction

              The Bankruptcy Court will retain exclusive jurisdiction of the case after the confirmation

     date with respect to the parties to, and the subject matter of, this Plan and the claims, applications,

     orders, damages, and other events as described in the Plan.


X.       Discharge

              If the Debtor’s Plan is confirmed under § 1191(a), on the Effective Date, the Debtor will

     be discharged from any debt that arose before confirmation of this Plan, to the extent specified in

     § 1141(d)(1)(A) of the Code. The Debtor will not be discharged from any debt: (i) imposed by this

     Plan; or (ii) excepted from discharge under § 523(a) of the Code, except as provided in Rule

     4007(c) of the Federal Rules of Bankruptcy Procedure.


              If the Debtor’s Plan is confirmed under § 1191(b), the Debtor will be discharged from any

     debt that arose before confirmation of this Plan, to the extent specified in § 1141(d)(1)(A) of the

     Code, on the first date on which the Administrative Claims, priority claims, and allowed claims in

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all classes have each been paid in full in accordance with the terms of this Plan. The Debtor will

not be discharged from any debt: (i) on which the last payment is due after the first 3 years of the

Plan, or as otherwise provided in § 1192; or (ii) excepted from discharge under § 523(a) of the

Code, except as provided in Rule 4007(c) of the Federal Rules of Bankruptcy Procedure.


         If the Debtor’s Plan is confirmed under § 1191(b), upon payment by the Debtor of the

Administrative Claims, priority claims, and allowed claims in all classes in accordance with the

terms of this Plan, the Debtor may apply for the entry of an order of discharge and upon

confirmation that the payments have been made, the Bankruptcy Court shall enter an order of

discharge under section 1192.


         On the Effective Date, any lien, claim or encumbrance of Frost Bank and Michael Allen

Franklin resulting from the Judgments or otherwise will be released, discharged and terminated on

the Properties and any other properties of the Debtor.


         A discharge shall also be a determination that neither Frost Bank nor Michael Allen

Franklin have any claims against Leonida, Jimmy Butcher or the Properties and that the Judgments

do not apply to Leonida, Jimmy Butcher and the Properties. Upon a discharge, Frost Bank and

Michael Allen Franklin are to execute releases of the Judgment liens that may be filed in the real

property records where the Properties are located stating that the Judgments do not apply to the

Properties, or alternatively the Debtor may obtain an order from the bankruptcy court stating that

the Judgments do not apply or attach to the Properties.


         Attachments:

         1. Projections – payments to creditors under the plan are shown in red

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         2. Liquidation Analysis
         3. Liquidation Chart

Dated: August 19, 2024



                                                  /s/James Douglas Butcher
                                                  James Douglas Butcher

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